                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERNDIVISION
                                No. 4:22-CR-44-1M-RN


 UNITED STATES OF AMERICA,                        )
                                                  )
                  v.                              )                      ORDER
                                                  )
  DEQUAN MARTRAIL BOONE,                          )
                                                  )
                Defendant.                        )



       Pursuant to Rule 5(f)(1) of the Federal Rules of Criminal Procedure, as amended by the

Due Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the court hereby

confirms the government’s disclosure obligation under Brady v. Maryland, 373 U.S. 83 (1963),

and its progeny. See Brady, 373 U.S. at 87 (“[T]he suppression by the prosecution of evidence

favorable to an accused upon request violates due process where the evidence is material either to

guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.”). Failure by

the government to comply with its disclosure obligation could result in such consequences as

exclusion of evidence, adverse jury instructions, dismissal or reversal of charges, contempt

proceedings, or imposition of sanctions.

       SO ORDERED, this 2nd day of September, 2022.



                                              _________________________
                                              KIMBERLY A. SWANK
                                              United States Magistrate Judge




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